                       Case: 1:22-cv-00150-MRB-KLL Doc #: 17 Filed: 05/03/22 Page: 1 of 1 PAGEID #: 69
                                                     #             UNITED STATES DISTRICT COURT
                                                     ;                        FOR THE
                                                                    SOUTHERN DISTRICT OF OHIO

     MICHAEL LEAL                                    :                                             :                       CASE#     1:22-CV-150

             PLAINTIFF(S)


             VS.

     FELICIA BEDEL, ET AL.                                                                     :                           AFFIDAVIT OF SERVICE

             DEFENDANT(S)


            STATE OF OHIO                        %                       )

           COUNTY OF HAMILTON                                            )

                                                                   To:                FELICIA BEDEL
                                                                             210 CARRINGTON LANE, APT. 311
                                                                                  LOVELAND, OH 45140

              Britian           Oaudelin                                     PERSONALLY APPEARED BEFORE ME, WHO BEING FIRST DULY
           SWORN, SAYS THAT HE SERVED A COPY OF THE SUMMONS; CIVIL COVER SHEET; COMPLAINT; CONSENT
           DECREE OF DISSOLUTION OF MARRIAGE UPON THE ABOVE NAMED PARTY ON THE __30       DAY OF
                        , 2094 , AT APPROXIMATELY __8 -     . M.
           BY DELIVERING        TO AND   LEAVING              WITH THE   NOTICED     PARTY    PERSONALLY;

()         BY DELIVERING TO AND LEAVING WITH                                                                                    , A PERSON OF DISCRETION
           RESIDING AT THE RESIDENCE OF THE SAID NOTICED PARTY;
0)         BY DELIVERING AND LEAVING WITH                                                                                       , THE REGISTERED AGENT
           FOR THE NOTICED PARTY;
()         BY DELIVERING AND LEAVING WITH NAME:                                                                             POSITION:
           AN EMPLOYEE OF THE BUSINESS LISTED FOR THE NOTICED PARTY, AUTHORIZED TO ACCEPT SERVICE.
{3         BY POSTING A COPY OF SAID ABOVE REFERENCED DOCUMENTS AT/WITH
                                                         ONTHE ________DAYOF                                                                 ,20___, AT
           APPROXIMATELY                                 _M
0)         SERVICE NOT OBTAINED (PLEASE SEE NOTES BELOW)
(NoTES)                                      t
                                             i
                                             L
7h                 ;                     ¥


                                         )

0)         DESCRIPTION:
                        SEX:                        MALE                 v FEMALE
                        SKIN:                    V. WHITE                ___ BLACK           ___ YELLOW              ____BROWN          ____RED
                        HAIR:                    v BLACK                 ___BROWN            ___BLONDE               ____ GRAY          ___RED        ____Balp
                        AGE:                     __ 16-20                21-35               v,        36-50         51-65              ____65+
                        HEIGHT:                  —UNDERS                 ___5-5'3"           v         54"58"        ___59"6            ____6'+
                        WEIGHT:          ‘__<iooLBs                      __100-130           131-160                      161-200           >200LBS

                                         v                                     SWORN   TQ    BEFORE      ME   THIS   30   DAY   OF

          PROCESS SERVER                                                                     ore                          2044.
          LITIGATION SUPPORT SERVICES
          1181 1 MASON MONTGOMERY     RD.                                              0s
          CINCINNATI, OHIO 45249

                                                                                   ner         rune           Comm. Exp.: Lf 1/2
                                                                    0
